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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                       3/29/2020
 IN RE APPLICATION OF SHERVIN
 PISHEVAR FOR AN ORDER TO TAKE                                       1:19-mc-00503 (JGK) (SDA)
 DISCOVERY FOR USE IN FOREIGN
 PROCEEDINGS PURSUANT TO 28 U.S.C. §                                 ORDER
 1782



STEWART D. AARON, United States Magistrate Judge:

       WHEREAS, on March 3, 2020, Petitioner filed a motion for reconsideration of the Court’s

February 18, 2020 Opinion and Order (Not. of Mot., ECF No. 59);

       WHEREAS, in his memorandum of law in support of his motion, Respondent states that

he “is willing to share the Tech Source and the Pishevar Source’s identities in camera, but does

not name them to minimize any burden on third-parties that do not have the information he

seeks” (Pet. Mem., ECF No. 60, at 5 n.5); and

       WHEREAS, Petitioner fails to provide any legal rationale as to why the identities of his so-

called Tech Source and Pishevar Source should not be submitted as part of the public record, let

alone shared with Respondent.

       NOW, THEREFORE, it is hereby ORDERED, as follows:

       (1) No later than Friday, April 3, 2020, Petitioner shall, in a letter to the Court filed on the

           public docket, not to exceed five pages in length, (a) show cause why the identities of

           the Tech Source and Pishevar Source should not be made part of the public record, or

           (b) set forth the names and employers of the Tech Source and Pishevar Source.
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     (2) Any response by Respondent to Petitioner’s submission pursuant to paragraph 1

         above shall be made in a letter to the Court filed on the public docket, not to exceed

         five pages in length, no later than Wednesday, April 8, 2020.

SO ORDERED.

DATED:        New York, New York
              March 29, 2020

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                                                  STEWART D. AARON
                                                  United States Magistrate Judge




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